Exhibit D
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(12) United States Patent                                                              ( 10 ) Patent No.: US 10,554,297 B2
     Snawerdt                                                                          (45 ) Date of Patent:   * Feb . 4 , 2020
(54 ) FIBER OPTIC TELECOMMUNICATIONS                                                        H04B 10/85                       (2013.01 )
      CARD WITH SECURITY DETECTION                                                          H04B 10/079   (2013.01)
                                                                                   (52) U.S. CI.
( 71 ) Applicant: OYSTER OPTICS, LLC , Murrells                                         CPC      H04B 10/071 ( 2013.01 ); H04B 10/0705
                  Inlet, SC (US )                                                                      (2013.01 ); H04B 10/07955 (2013.01); H04B
( 72 ) Inventor: Peter Snawerdt, Indian Harbour Beach ,                                                                           10/85 ( 2013.01 )
                 FL (US )                                                          (58 ) Field of Classification Search
                                                                                         CPC       ....... HO4B 10/071; H04B 10/0705 ; H04B
(73 ) Assignee: OYSTER OPTICS LLC , Reston , VA                                                                        10/07955 ; HO4B 10/85
                  (US )                                                                     See application file for complete search history .
( * ) Notice :    Subject to any disclaimer , the term of this                     (56 )                            References Cited
                  patent is extended or adjusted under 35                                               U.S. PATENT DOCUMENTS
                  U.S.C. 154 (b ) by 0 days.
                                                                                           5,062,704 A        *     11/1991 Bateman               GO1M 11/3145
                   This patent is subject to a terminal dis                                                                                          250 /227.15
                  claimer .                                                                5,539,560 A *             7/1996 Dennis                   HO4J 14/08
                                                                                                                                                        385/124
( 21 ) Appl. No.: 16 /273,899                                                                                         (Continued )
(22) Filed :      Feb. 12 , 2019                                                   Primary Examiner — Dzung D Tran
(65)                 Prior Publication Data
                                                                                   (74 ) Attorney, Agent, or Firm                    Jackson Walker L.L.P.
      US 2019/0181948 A1              Jun . 13 , 2019                              (57)                   ABSTRACT
             Related U.S. Application Data                                         A transceiver card for a telecommunications box for trans
                                                                                   mitting data over a first optical fiber and receiving data over
(63 ) Continuation of application No. 15/680,915 , filed on                         a second optical fiber. The card has transmitter for trans
      Aug. 18 , 2017, now Pat. No. 10,205,516 , which is a                         mitting data over the first optical fiber, the transmitter having
      continuation of application No. 15 /159,282 , filed on                        a laser and a modulator, a fiber output optically connected to
      May 19, 2016 , now Pat. No. 9,749,040 , which is a                           the laser for connecting the first optical fiber to the card , a
      continuation of application No. 13 /762,717 , filed on                       fiber input for connecting the second optical fiber to the card ,
      Feb. 8 , 2013 , now Pat. No. 9,363,012 , which is a                          a receiver optically connected to the fiber input for receiving
      continuation of application No. 12 /590,185 , filed on                       data from the second optical fiber, and an OTDR optically
      Nov. 4 , 2009, now Pat. No. 8,374,511 , which is a                           connected between the transmitter and the fiber output or
                          (Continued )                                             between the receiver and the fiber input. An energy level
                                                                                   detector is also provided between the receiver and the fiber
(51) Int. Ci.                                                                      input.
      H04B 10/07               (2013.01 )
      H04B 10/071              ( 2013.01)                                                               20 Claims, 3 Drawing Sheets

                                                          Received Data Stream


                                                   logarithmic
                                                     or linear
                                                     30plifier
                                153                                                                       Sirca

                                            Threshold 1

                                                to A                                         160                                     233
                                            Converter
                                                                             157
                                                                                                                          Energy
                                                                                                                          Detector          TorFrom
                                             Converter                                                                    Control          Processor


                                                                                                   To Threshold 2
                                                      US 10,554,297 B2
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                 Related U.S. Application Data
          continuation of application No. 10 / 188,643 , filed on
          Jul. 3 , 2002, now Pat. No. 7,620,327.
(60 ) Provisional application No. 60 /303,932 , filed on Jul.
          9 , 2001.
(56 )                   References Cited
                  U.S. PATENT DOCUMENTS
         5,561,727 A * 10/1996 Akita                GO2B 6/3897
                                                        361/785
        10,205,516 B2 * 2/2019 Snawerdt             H04B 10/071
* cited by examiner
U.S. Patent   Feb.4.2020   Sheet 1 of 3         US 10,554,297 B2




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U.S. Patent                                                   Feb. 4 , 2020                                            Sheet 2 of 3                                                                                              US 10,554,297 B2




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                              &Modulator CLoanstreol
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U.S. Patent                                      Feb. 4. 2020                            Sheet 3 of 3                                                                             US 10,554,297 B2




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      FIBER OPTIC TELECOMMUNICATIONS                                 phase-modulated light beams, and an output detector. U.S.
        CARD WITH SECURITY DETECTION                                 Pat. No. 5,223,967 describes a similar Sagnac - interferom
                                                                      eter-based system operating over a single optical fiber.
           CROSS REFERENCE TO RELATED                                    The Sagnac- interferometer-based systems described in
                   APPLICATION                                   5   these patents have the disadvantage that they require the
                                                                     light to travel over a loop , whether back and forth in a single
   The present patent application is a continuation of U.S.          fiber or over a long length looped fiber. As a result, either the
patent application Ser. No. 157680,915 (now U.S. Pat. No.            link budget for the single fibermust be doubled , reducing the
 10,205,516 , filed Aug. 18 , 2017 , which is a continuation of      data carrying capacity for a single fiber, or else a looped fiber
U.S. patent application Ser. No. 15 / 159,282 (now U.S. Pat. 10      with significant and expensive extra length of at least twice
No. 9,749,040 ), filed May 19 , 2016 , which is a continuation       that of a single fibermust be laid between the transmitter and
of U.S. patent application Ser. No. 13 / 762,717 (now U.S.           the receiver. Moreover, the receiver contains the light
Pat. No. 9,363,012 ), filed Feb. 8 , 2013 ; which is a continu       source , as opposed to the current installed base where the
ation of U.S. patent application Ser. No. 12 /590,185 (now           transmitter has the light source .
U.S. Pat. No. 8,374,511 ), filed Nov. 4 , 2009 ; which is a 15           The Sagnac - interferometer-based systems thus are expen
continuation of U.S. patent application Ser. No. 10 / 188,643        sive to build and operate , and do not work particularly well
(now U.S. Pat. No. 7,620,327 ) , filed Jul. 3, 2002 , which          with existing multiplexors or card formats .
claims priority to U.S. Provisional Patent Application Ser.              Several companies currently provide OTDR (optical
No.60 /303,932 , filed Jul. 9, 2001 ; the entirety ofwhich are        time-domain reflectometers) which can monitor an optical
all hereby incorporated by reference herein .                   20    fiber and determine if the presence of and location of a break
                                                                     in the fiber. Such companies include Youth Communication
         BACKGROUND OF THE INVENTION                                 Co. with the MW Series Mini -OTDR and OTDR modules
                                                                     from Tekronix Communications .
   1. Field of the Invention                                           These detectors however are expensive and must be
   The present invention relates generally to telecommuni- 25 applied to the fiber away from the box .
cations and more particularly to transmitters and receivers            U.S. Pat. No. 5,777,727 discloses details of OTDR tech
for fiber optic networks.                                           nology and is hereby incorporated by reference herein .
   2. Background Information
   In current fiber optic networks, an electronic data stream             SUMMARY OF THE PRESENT INVENTION
is fed to an optical fiber multiplexor, which is also called “ a 30
box” in the industry. Each multiplexor runs on a specific              An object of the present invention is to provide a trans
transmission standard , for example , SONET. A laser and an ceiver card for providing secure optical data transmission
amplitude modulation circuit for the laser typically are over optical fiber. Another alternate or additional object of
located on a card , which fits into the box . The laser ampli       the present invention is to provide for replacement of
tude modulator typically pulses or alters the laser output to 35 existing cards with a transceiver card permitting ODTR and
create an amplitude-modulated optical signal representative tapping detection capabilities .
of the electronic data stream . The laser amplitude modulator          The present invention provides a transceiver card for
and laser thus define a transmitter for transmitting the optical transmitting data over a first optical fiber and receiving data
signal over an optical fiber. A receiver for the amplitude over a second optical fiber , the card having a transmitter for
modulated optical signals of the optical data typically 40 transmitting data over the first optical fiber and a receiver for
includes a photodiode to convert the optical signals back receiving data from the second optical fiber, and an OTDR
into the electronic data stream . Both the transmitter and the       connected optically to the second optical fiber upstream
receiver typically are located on the backplane of a single from the receiver. Preferably , the OTDR operates at a
card , which is replaceable should a component fail .            wavelength that is different than the wavelength used for
   The card typically also contains a connector for receiving 45 data transmission and is connected in the optical circuit via
at least one optical fiber, for example a duplex SC connector.       a wavelength division multiplexed coupler. By operating the
The connectors normally are located on a faceplate of the            OTDR at a wavelength different than the wavelength used
card , the faceplate being perpendicular to the backplane.           for data transmission , the OTDR may be allowed to con
   The reading of the amplitude -modulated optical data tinuously operate without disruption of the data traffic .
signals using the photodiode on the card is straightforward : 50 Preferably , an energy level detector is also provided on
the optical signals either produce an electric output at the the card . The energy level detector is preferably optically
photodiode or they do not. As a result, an output electronic connected to the second fiber between the OTDR and the
data stream of zeros and ones is generated.                       receiver.
   The electronics for the amplitude modulation of the laser          The OTDR preferably is monitored by an embedded
and for the receiving of the optical data on the card thus is 55 processor within the box . The processor analyzes theOTDR
relatively simple . All that is required is a pulsing circuit for output data to determine if the characteristics of the optical
pulsing the laser as a direct function of the input data and a fiber system have changed relative to a reference character
photodiode for the receiver.                                      istic. If the optical fiber system has changed relative to the
   Existing amplitudemodulated systemshave the disadvan           reference OTDR characteristic , then a degradation of the
tage that the fiber can be easily tapped and are not secure. 60 optical fiber system , which may indicate a fiber breach or a
   U.S. Pat. No. 5,455,698 purports to disclose a secure fiber fiber tap , can be logged along the position of the degradation
optic communications system based on the principles of a source relative to the location of the OTDR . The indication
Sagnac interferometer. A data transmitter is a phase modu of degradation of the fiber system may provide an alarm
lator for modulating counter-propagating light beams sent            signal , for example an electronic signal sent to a network
by a receiver round a loop . The receiver includes a light 65        operations center to indicate themeasured degradation of the
source , a beamsplitter for splitting light from the light source    fiber system along with the approximate location of the
into counter-propagating light beams and for receiving the           degradation point, a light on the outside of the box or a
                                                    US 10,554,297 B2
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sound - emitting alarm . Alternatively, the OTDR output may            connected to the printed circuit board , the light indicated a
be connected to a display model via an electrical connection           change in energy at the detector or degradation of the optical
on the card for display to a human operator, or transferred by         fiber system .
the transceiver to be analyzed at the network operations
center.                                                            5         BRIEF DESCRIPTION OF THE DRAWINGS
   The transceiver card of the present invention preferably
has fiber span length ranges for operation that are compat      A preferred embodiment of the present invention is
ible with standard optical multiplexor operation , for       described below by reference to the following drawings, in
example, two to twenty kilometers or ten to one hundred      which :
kilometers . The OTDR and energy level detector must have 10 FIG . 1 shows schematically a card of the present inven
a measurement dynamic range that ensures proper operation tion located in an existing telecommunications box , such as
over the span length limits of the transceiver card . By a mutliplexor; and
specifying fiber span length ranges for the OTDR and energy    FIG . 2 shows a block diagram of the transceiver of the
detector enhanced transceiver, the cost of implementation of present invention .
the OTDR and energy level detector can be optimized with 15 FIG . 3 shows a description of an analog energy level
span length thus providing an optimized cost of implemen     detector of the present invention .
tation benefit to the customer .
   The present invention thus permits a card -based transmis                            DETAILED DESCRIPTION
sion system incorporating an energy level detector for opti
cal tap detection , which can provide for more secure data 20 FIG . 1 shows an existing telecommunications box 2 , for
transmission than existing amplitude-based cards along with example a multiplexor, refitted with a card 1 of the present
breach localization services from the OTDR . Because of invention . Box 2 has an electronic data input 3 and output 4 ,
advances in semiconductor and optical component packag        which connect to a motherboard 5 of the box 2.Motherboard
ing , the OTDR and energy leveldetector parts along with the 5 includes a bus 6 for connnnecting existing amplitude-based
optical transmitter and receiver components can fit all on 25 cards to the motherboard 5 , and connects the input 3 and
one card compatible with most existing box dimensions.        output 4 , through for example , data conversion circuitry, to
    The transmitter light source preferably is a laser, for           the bus 6. The type of bus 6 is dependent upon the box
example a semiconductor laser operating at a 1550 nm , or             manufacturer, and different types of boxes , motherboards
other, wavelength .                                                   and buses are well known in the art. Card 1 of the present
   Preferably, the energy level detector provided on the card      30 invention includes electrical connections 8 to fit into bus 6 .
for measuring light energy in a fiber is connected electroni             Card 1 also includes a faceplate 9 and a backplane 7 ,
cally to an alarm , so that when a drop or increase in the            which preferably is a printed circuit board , Faceplate 9 may
energy level is detecte which may indicate a tap , the card           be perpendicular backplane 7 and be flush with a front
may provide an alarm signal, for example an electronic                side of box 2 .
signal sent to a network operations center to indicate a drop      35 Faceplate 9 may have a fiber connector 109 , such as a
or increase in the optical energy level, a light on the outside       duplex SC connector, for connecting to an output fiber 110
of the box or a sound -emitting alarm . Depending upon the             and an input fiber 111. Alternately , a single fiber for inputting
optical transmission method implemented , a successful tap             and outputting signals could be provided .
may be placed by adding light to the system through the                  FIG . 2 shows the card 1 of the present invention in more
tapping device . Implementations of the single fiber Sagnac        40 detail. A transmitter 10 transmits signals over optical fiber
transmission method described in U.S. Pat. No. 5,223,967               110. Transmitter 10 includes a single laser 12 , for example
may be susceptible to such a tapping method unless an                 a semiconductor laser emitting a narrow band of light at
energy level detector that monitors for an increase or                approximately 1550 nm , or at other wavelengths. Light
decrease in the optical signal level is included as part of the        emitted from laser 12 passes through a modulator 16 , for
design .                                                           45 example an amplitude or phase modulator, directly next to or
   The card includes an optical fiber interface for at least one      part of the same package as laser 12. The light may be
fiber, and preferably for two fibers. The interface may be a          depolarized by a depolarizer 14. An electronic controller 18 ,
duplex SC connector, for example.                                      preferably manufactured directed on the printed circuit
    The card preferably is a replacement part for an existing          board of backplane 7 (FIG . 1 ), controls modulator 16 and
optical multiplexor transceiver card .                             50 may provide power to laser 12. Input data 19 is fed to the
   The present invention also provides a method for provid            controller 18 , which then controls modulator 16 to modulate
ing a continually operating or, preferably, a commanded               the light from laser 12 as a function of the input data 19 .
operation OTDR within an existing box including the steps            The transceiver of the present invention preferably oper
of:                                                               ates in a phase -modulated mode , though conventional
   removing an existing transceiver card ; and                 55 amplitude-modulated transmitters and receivers, including
   replacing the transceiver card with the card of the present those using return -to -zero type signals, for example , may
invention .                                                       also be used . The phase -modulated signals have the advan
    The present invention also provides a method for manu         tage that breach detection by the energy level detector work
facturing an optical transceiver card for transmitting data more effectively, since the amplitude of the optical signal is
over at least one data transmitting optical fiber, the card 60 constant and thus a drop in the optical signal level is more
having a transmitter and a receiver, the method comprising easily detected .
 the steps of:                                                       Optical signals are received at connector 109 from fiber
   placing a transmitter on a printed circuit board ,             111 .
   placing a receiver on a printed circuit board ; and              Receiver 11 includes two coupler /splitters 31 and 131 ,
   placing an OTDR on the printed circuit board .              65 each functioning as a splitter. Splitter 131 is preferably a
   Preferably, an energy level detector is also placed on the wavelength division multiplexed coupler /splitter to allow
printed circuit board , and a light is connected to a faceplate the OTDR 132 to operate at one optical wavelength , for
                                                  US 10,554,297 B2
                              5                                                                 6
example 1670 nm , while the transmitted data stream 19 and old can be developed which offers the same resolution per
received data stream 34 are carried on a different wave            bit regardless of the span length of the device .
length , for example 1550 nm . This functionality allows the          The electrical signal, after being scaled by the linear or
OTDR 132 on transceiver card 1 to be commanded to logarithmic amplifier 155 , is compared to reference voltages
continuously operate without interruption or corruption of 5 by one or more comparators. As shown in FIG . 3, compara
the received data stream 34. Splitter 131 splits off the tor 156 will transition from a low to high output when the
wavelength of light applicable to the OTDR into fiber 133 , voltage output from the logarithmic or linear amplifier 155
which has an input to OTDR 132. Splitter 31 then splits off exceeds the reference voltage established by the digital to
a portion of the remaining other light, directing part of the analog (D to A ) converter 158. Conversely, comparator 157
opticalthe
passes   energy  to anlightenergy
             residual         to anlevel or tap
                                    optical     detector
                                            receiver     33 and 10 will transition from a low to high output when the voltage
                                                     32. Optical
receiver 32 converts the optical signal from optical to output from the logarithmic or linear amplifier 155 falls
                                                                  below the reference voltage established by the digital to
electronic form to recover the electronic data stream 34 as
appropriate for the optical modulation technique employed . analog converter 159. The output of OR gate 160 will
   OTDR 132 has a controlcircuit 134 and a bus 135 which 15 transition froth low to high when either the output of
allows the device to be controlled by a processor. The OTDR comparator 156 or comparator 157 transitions from low to
thus can monitor the fiber 111 and provide information high . For the example of FIG . 3 , an alarm state is said to
through bus 135 to a processor for determining the location exist when the output of OR gate 160 is high . To indicate an
of a breach or tap .                                              alarm state, the OR gate outputmay trigger an audible alarm
   Detector 33 monitors the light energy in the fiber 111 via 20 via a siren 162, a visual alarm via a light or light emitting
 the light energy coupled to the detector by splitter 31. If the diode (LED ) 161 or may indicate an alarm state to the
 amplitude drops during monitoring, which may indicate a processor via the energy level detector interface 233 and
tap , the detector 33 provides an alert and can , for example , processor bus 135. The reference voltages established by D
send and electronic signal to the processor via bus 135 to to A converters 158 and 159 may be programmable through
indicate a drop or increase in the optical energy level, sound 25 a digital processor or state machine via a digital bus 135 and
 an alarm or alert network maintenance personnel, for an energy level detector interface circuit 233. One or more
 example through an LED 133 or by sending an alarm                thresholds 163 and 164 may be established to provide
message using transmitter 10.Another LED 134 can provide reference levels for comparison to determine one or more
an indication of proper signal reception . An energy level alarm states. Thus, the circuit of FIG . 3 may be configured
detector control circuit 233 controls the alarm threshold and 30 to monitor in real time the optical power at the receiver 11
energy detection and provides output indications from the for excess light or too little light to indicate a potential
energy detection circuit to a processor via bus 135 which optical tap , tamper or other degradation of the optical signal .
may be shared with the OTDR control circuit 134 .                    A digital circuit equivalent to FIG . 3 may be developed .
    FIG . 3 shows the energy level detector 33 of the present Analog to digital conversion of the logarithmic or linear
 invention in more detail. The energy level detector 33 35 amplifier 155 output followed by comparison of the digital
described by FIG . 3 represents a preferred analog imple result to digital thresholds either via software or digital
mentation , with other implementation circuits possible, for hardware would indicate optical energy levels within limits
bounding the optical energy within an acceptable range with or not. Additional filtering via averaging of digital conver
 thresholds which may be programmable.                            sions via a moving average or other digital filtering tech
   A photodetector or other optical to electrical conversion 40 nique could replace or supplement filtering provided by
device 153 measures the optical signal coupled to its input analog filter 154. A digital implementation also offers infor
by coupler/ splitter 31. The output of photodetector 153 is an mation regarding an estimate of the measured optical signal
electrical voltage whose level correlates to the optical power power, both peak and average , by monitoring the analog to
at the input to the photodetector 153 based upon the pho digital output via a computer interface .
todetector 153 transfer optical to electrical conversion trans- 45 The component sizes and types will depend upon the type
fer function . Depending upon the electrical bandwidth of of transmission desired . For example OC - 3 cards may vary
photodetector 153 and the optical signal format present at in size and certain component types from OC - 192 cards.
the input to photodetector 153, the electrical signalmay be         While the cards may be placed in new boxes , the present
filtered by a low pass filter 154 to provide an average voltage invention also permits for the removal of existing optical
level which represents the average optical power measured 50 transmission cards to be easily replaced by the enhanced
by photodetector 153. After filtering the signal, the electrical security cards. The fibers are disconnected , the box 2 is
signal may be conditioned and scaled by either a logarithmic      simply opened and the amplitude-modulated -based card is
or linear amplifier 155. Scaling the data may be necessary to     removed . The card 1 is inserted into the bus 6 and the fibers
ensure that energy level detection can be made without            are connected .
performance degradation over the span length range 55                The card 1 of the present invention may thus provide
required for the circuit . The choice of scaling type is chosen   existing boxes with continual breach localization and detec
primarily based upon the optical to electrical conversion         tion secure transmission mode capability .
transfer function of the photodetector and the range of             Moreover, a separate OTDR which is space - consuming
expected optical power levels at the photodetector 153 input      need not be provided .
based upon span length ranges. Generally, the transfer 60            While the energy level detector must be at the receiver
function of semiconductor photodetection devices is expo          side , the OTDR also could be located on the transmitter side .
nential with respect to optical to electrical conversion . For
such components, the cascade of an exponential photode              What is claimed is :
tector with a logarithmic amplifier offers the advantage of          1. A telecommunications assembly, comprising
providing a net linear transfer function from optical power 65       a printed circuit board ; and
at the input to the photodetector to voltage at the logarithmic      components affixed to the printed circuit board , wherein
amplifier. Thus, a digitally programmable detection thresh              the components include:
                                                    US 10,554,297 B2
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      an optical receiver configured to receive an optical data          an amplifier configured to amplify the average value
         signal from an optical fiber of an optical fiber tele             signal to produce an amplified signal, wherein the
         communications system ;                                           comparator signal is based on the average value signal.
      an energy level circuit, optically coupled to the optical         13. The telecommunications assembly of claim 1 , wherein
         fiber,wherein the energy level circuit is configured to    5 the components include :
        detect an energy level of the optical data signal ,             an optical transmitter affixed to the printed circuit board
        wherein the energy level circuit includes :                        and configured to :
         a photodetector to generate a photodetector voltage               receive a data stream ; and
            indicative of the energy level of the optical data             generate an outgoing optical data signal indicative of
            signal; and                                            10         the data stream ; and
         a comparator to generate a comparator signal based             transmit the outgoing optical data signal via an optical
            on the photodetector voltage .                                 fiber optically coupled to the optical transmitter.
   2. The telecommunications assembly of claim 1, wherein                14. The telecommunications assembly of claim 13 ,
the energy level circuit includes a light emitting diode (LED )       wherein the optical transmitter includes:
and wherein the comparator signal is a visible signal indi-        15 a laser ;
cated by the LED .                                                      a modulator ;
   3. The telecommunications assembly of claim 1, wherein               control electronics to provide control signals, in accor
the energy level circuit includes a siren and wherein the                  dance with the data stream , to the laser and modulator
comparator signal is an audible signal generated by the siren .            to modulate the laser in accordance with data stream ;
   4. The telecommunications assembly of claim 1, wherein          20      and
the comparator signal comprises an electronic signal pro              a depolarizer configured to receive an output of the
vided to a processor via a processor bus.                                modulator .
   5. The telecommunications assembly of claim 1 , wherein            15. A telecommunications assembly, comprising:
the energy level circuit includes two or more comparators             an optical receiver affixed to a printed circuit board and
configured to receive the photodetector voltage and wherein      25      configured to receive an optical data signal from an
a first comparator indicates a particular drop in the energy              optical fiber of an optical fiber telecommunications
level and a second comparator indicates a particular increase             system ;
in the energy level.                                                  an energy level circuit, optically coupled to the optical
   6. The telecommunication assembly of claim 5 , wherein                 fiber, wherein the energy level circuit is configured to
the components include :                                         30      detect an energy level of the optical data signal,
   a digital- to -analog converter corresponding to each of the          wherein the energy level circuit includes:
      two or more comparators, wherein each digital-to                   a photodetector to generate a photodetector voltage
      analog converter receives a reference input and gener                  indicative of the energy level of the optical data
      ates a reference voltage based on the reference input;                 signal; and
      and                                                        35       a comparator to generate a comparator signal based on
    logic configured to receive an output from each of the two               the photodetector voltage ;
      ormore comparators and further configured to generate           a processor; and
       an alarm signal based on the output from each of the           an energy level control interface coupled to the energy
       one or more comparators .                                          level circuit configured to communicate with the pro
    7. The telecommunications assembly of claim 6 , wherein 40           cessor to program one or more parameters of the energy
the components include:                                                  level circuit.
    a control interface configured to communicate with a               16. The telecommunications assembly of claim 15 , further
       processor to enable programmable reference inputs.           comprising :
   8. The telecommunications assembly of claim 1, wherein             a splitter configured to split the optical data signal into a
the optical data signal comprises a modulated optical data 45             first optical signal and a second optical signal and
signal and wherein the optical receiver includes a demodu                 further configured to provide the first optical signal to
lator configured to obtain data from the -modulated optical               the optical receiver and the second optical signal to the
data signal.                                                              energy level circuit.
   9. The telecommunications assembly of claim 8 , wherein             17. A telecommunications method , comprising:
 the optical data signal comprises an amplitude-modulated 50 receiving ,by an optical receiver affixed to a printed circuit
optical data signal and wherein the demodulator comprises                 board and optically connected to an optical fiber, an
an amplitude demodulator configured to obtain the data from              optical data signal from the optical fiber;
the amplitude -modulated optical data signal.                         detecting , by an energy level detector affixed to the
    10. The telecommunications assembly of claim 8 , wherein              printed circuit board and optically coupled to the opti
 the optical data signal comprises a phase -modulated optical 55         cal fiber, an energy level of the optical data signal;
data signal and wherein the demodulator comprises a phase              generating , by a photodetector, a photodetector voltage
demodulator configured to obtain the data from the phase                  indicative of the energy level of the optical data signal;
modulated optical data signal.                                           and
    11. The telecommunications assembly of claim 8 , wherein           generating a comparator signal based on the photodetector
the components include :                                         60       voltage and a reference voltage .
    a low pass filter, coupled to an outputof the photodetector,       18. The telecommunications method of claim 17 , further
       to produce an average value signal indicative of an comprising :
      average value of the energy level of the optical data           generating, by a low pass filter coupled to an output of the
       signal, wherein the comparator signal is based on the              photodetector, an average value signal indicative of an
      average value signal.                                      65       average value of the energy level of the optical data
    12. The telecommunications assembly of claim 11 ,                     signal wherein the comparator signal is based on the
wherein the components include :                                         average value signal.
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                              9                                      10
  19. The telecommunications method of claim 18 , further
comprising :
  amplifying the average value signal to produce an ampli
     fied signal, wherein the comparator signal is based on
    the amplified signal.                                     5
  20. The telecommunicationsmethod of claim 19 , wherein
an optical-to -electrical transfer function of the photodetector
is exponential and wherein amplifying the average value
signal comprises amplifying the average value signal with a
logarithmic amplifier and wherein a net transfer function of 10
the photodetector and amplifier is linear.
